Case 3:13-cv-00331-GPC-KSC Document 164-14 Filed 06/15/17 PageID.8493 Page 1 of 4
Case 3:13-cv-00331-GPC-KSC Document 164-14 Filed 06/15/17 PageID.8494 Page 2 of 4




                                                                Wakefield Ex. 20 - 1369
Case 3:13-cv-00331-GPC-KSC Document 164-14 Filed 06/15/17 PageID.8495 Page 3 of 4




                                                                Wakefield Ex. 20 - 1370
Case 3:13-cv-00331-GPC-KSC Document 164-14 Filed 06/15/17 PageID.8496 Page 4 of 4




                                                                Wakefield Ex. 20 - 1371
